
PER CURIAM.
WHEREAS, the judgment of this court was entered on February 26, 1965 (172 So.2d 464) affirming an order of the County Judges’ Court in and for Dade County, Florida, in the above styled cause; and
WHEREAS, on review of this court’s judgment, by certiorari, the Supreme Court of Florida, by its opinion and judgment filed December 15, 1965 (182 So.2d 10) and mandate dated February 14, 1966, now lodged in this court, reversed this court’s judgment of affirmance and remanded the cause for further proceedings consistent with the decision of the Supreme Court of Florida;
NOW THEREFORE, It is Ordered that the mandate of this court issued in this cause on March 23, 1965, is withdrawn, the opinion and judgment of this court filed February 26, 1965 is vacated, the opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court and the order of the County Judges’ Court appealed from in this cause is reversed for further proceedings consistent with the said opinion and judgment of the Supreme Court of Florida. Costs allowed shall be taxed in the County Judges’ Court (Rule 3.16(b) Florida Appellate Rules, 31 F.S.A.).
